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U.S. Code > Title 5» Part Ill > Subpart B » Chapter 33 » Subchapter Il> § 3331

5 U.S. Code § 3331 - Oath of office °

An individual, except the President, elected or appointed to an office of honor or profit in the civil service or uniformed services, shall take the following oath: “I, AB, do
solemnly swear (or affirm) that | will support and defend the Constitution of the United States against all enemies, foreign and domestic; that | will bear true faith and
allegiance to the same; that | take this obligation freely, without any mental reservation or purpose of evasion; and that | will weil and faithfully discharge the duties of the
office on which | am about to enter. So help me God.” This section does not affect other oaths required by law.

(Pub. L. 89-554, Sept. 6, 1966, 80 Stat. 424.)

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291
PROCEEDINGS

please, let me finish.
DEFENDANT CRESPO: Sure.
tHE COURT: I don't see how giving an adverse

inference, in other words, sanction the People in any way

prevents this type of conduct from occurring again in the

future or how it serves as a deterrent because there was
nothing that. was done wrong. It's wasn't like the police or
the District Attorney's Office were even responsible -- in
any way destroyed evidence that otherwise would have been
saved. So 1 have to think about this.

I understand that your client -- now, he never made
a specific cemand for it, right?

MR, DONLON: = I wasn't involved in motion practice.
I believe that all of those things were asked for during
that portion. I'm not ‘too sure that Mr. Weinstein filed.
motions and demand of discovery.

THE COURT: .ft was the standard, usual demand for

discovery.

But _he never requested to see the crowbar, and he

 

never knew i: was destroyed until he came in here last week.

 

SO we're talcing mid-January, all the time that _the case was

pending without knowing that the crowbar had been destroyed,

 

 

 

 

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PROCEEDINGS

require’ that the Court give an adverse inference.
MR. DONLON: I would respectfully disagree with the

Court. I believe that the People do have an obligation to

_ preserve evidence. I believe that's clear, and they are

aware of the Police Department's policy.

I was given a written directive from the district
attorney which explains the policy, and I assume the
investigative detective also is aware of the Police
Department's policy and would make it a practice to,
particularly when they have open cases with a pattern, that
they would make every effort to preserve that evidence.

Again, in the event -- certainly I think we all
could agree that the inference that I think is drawn from
the crowbar laying in the broken window is that the crowbar
was used to break the window. . This was the implement that
was used to break the window. Certainly if Mr. Crespo's DNA
was on that crowbar, it would further the inference that he
was the person who broke the window.

THE COURT: Right.

MR. DONLON: The fact that there's unknown DNA, I

 

 

guess, creates the possibility that it was somebody other
than Mr. Crespo. |
: THE, COURT: Right. We have that.

MR. DONLON: So I think if it was someone else's

DNA -- and certainly I would want to argue, Look, the People

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PROCEEDINGS

want you to believe that the crowbar was used to break the

 

 

 

window. Now, we have X's DNA on it. So someone else broke

the window, and Mr. Crespo went into the store. I think it

would create some argument to be made, Judge.

 

THe COURT: Even if we had the crowbar, it doesn't

change the argument because that crowbar was never

re-tested.

MR. DONLON: Right.
THR COURT: So I don't really see where you're
going with che argument. The crowbar was never re~tested by
anyone. Sc the evidence that was recovered from this

crowbar is what it is. It is today in 2013. What it was in

2007 nothiry has changed. And:not having the physical

‘crowbar here does not change your ability to make whatever

argument you want to make.

I will say this, I do disagree with your argument
that the police should preserve evidence in blanket form.
This is a }uge city with huge amounts of evidence gathered
every Sing..e day, many crimes that go unsolved. If the
police and the Prosecutor's Office were to be required to |
preserve €-ery bit of evidence ever vouchered whether it be
investigatory. or arrest evidence, we would literally have
countless numbers of warehouses of evidence. It is an
impractica . approach. L think to keep it for a year seems

reasonable and -- you khow, I'm not in the Legislature. I'm

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PROCEEDINGS

not on the City Council. So I have no say on this. But as
a Judge, it seems reasonable. You save it for a year. Ifa
case is not solved after a year, it gets destroyed. And
that seems that's all that could be done to make sure it is
always enough room for ongoing, active investigations. I
don't have a problem with something being destroyed after a
year. |

Moving along to the memo book, I am going to give
an adverse inference as to Officer serrano's memo book. And
I will give an adverse inference as to the other officer's
memo book. If between now and tomorrow morning we don't get
it and if we do get it between now and tomorrow morning, I
would ask you to have that detective available if Mr. Crespo
chooses to put him. on the stand to conduct further
cross-examination. |

MS, PERRY: Yes, Judge.

TE COURT: If we don't get it, it's going to be an
adverse inference as to both memo books.

MR. DONLON: The police officer, Officer Serrano's
memo book, ‘your Honor, the prosecutor had given rte an
example. I don't know if the Court has a copy of it, an
example off an adverse inference for that memo book. And I
believe gisnan that Police Officer Serrano's testimony which
I would cha..acterize is, at the very least, disingenuous and

misleading to the jury and to the Court, and on the other

SARAH MAXEY, SCR

 
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Case 1:16-cv-00708-PGG Document 104 Filed 12/07/18 Page 84 of 89

OFFICE OF CHIEF MEDICAL EXAMINER
Charles S. Hirsch, M.D., Chief Medical Examiner

DEPARTMENT OF FORENSIC BIOLOGY

Mechthild Prinz, Ph.D., Director

Howard J. Baum, Ph.D., Deputy Director
421 East 26" Street, New York, NY 10016
Tel: 212.323.1200 - Fax: 212.323.1590 - E-mail: DNALab@ocme.nyc.gov

 

September 9, 2007

LABORATORY REPORT

 

COMPLAINANT: Mamadou Diakhate LAB NO: FB07-01010

COMPLAINT NO: 2007-010-01955

SUMMARY OF RESULTS:

PCR DNA typing performed on the following samples indicates the presence of the same male DNA _
profile that is suitable for inclusion in DNA databases:

- swab “E2” from “inside on wall by point of entry near broken glass”
- swab “E3” from “piece of broken glass (on inside of)”

This combination of DNA alleles would, at a minimum, be expected to be found in approximately:’

1 in greater than 1 trillion people

DNA extraction was performed on the following sample, but an insufficient amount of DNA was
present for the DNA testing listed in this report:

- swab “E1” from “crow/pry bar”

Further analysis could be done upon submission of a blood or saliva sample from a suspect and/or
victiny/ elimination sample. Further analysis will require approximately 30 days.

The DNA results in this case do not match any previous PCR (STR) DNA cases to date.

The DNA results in this case will be entered into the OCME local DNA databank. The DNA
results will be entered into the National Combined DNA Index System (CODIS).

1, OCME STR database, National Research Council (1996) The Evaluation of Forensic DNA Evidence, Natl. Acad. Press,
Washington DC.
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PEOPLE-DIRECT-MS. RAZZANO

MS. PERRY: At this time, the People offer

People's 13 into evidence.

THE COURT: Any objections?
DEFENDANT CRESPO: No objections.
THE COURT: People's 13 is accepted into evidence.

(People's Fxhibit 13 marked and moved into evidence.)

MS. PERRY: Permission to publish it to the jury.
THE COURT: Sure.

Q Ms. F.azzano, looking at People's Exhibit 13, can you
describe what we're looking at here.

MS. RAZZANO: May I approach?
THE COURT: Sure.
MS. RAZZANO: Thank you.

A So what you're going to see here is three lines. The
first line would indicate the DNA profile that we obtained from
Herman Crespo.

The second and third lines will indicate the DNA profile
that we obtai: ed from two swabs tested in the case. .

Alom: the top you will find 15 locations that we tested
in the laboratory along with one location at the end. It says,
AMEL. This i: a sex determining locus. So if you see a XY, it
indicates the DNA profile came from a male. If you just see X,
it indicates it came from a female. These are the locations that
we know to be different from one another thus making us unique.

What ‘you'll see down here are two numbers. These are

SARAH MAXEY, SCR

 
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DEFENSE-CROSS-MS. RAZZANO

1 You can answer 1t.
2 A DNA is deposited when a person comes into contact with
3 | an item.
4 Q But I mean as to span of time. Can you state with
5 |} particularity how long that would have been at that given area?
6 A No.
7 Q Okay.
Therefore, you cannot -- by not being able to do that,
you can't say how long it was there, right?
10 A That 1s correct.
Li Q . Can you tell from what part of the body it came from?’
12 A No, t's skin cells that are deposited from some part of

13 the body.

14 Q So you don't know whether that was blood or what it was
15 {| in essence?

_oAake A The two swabs that were tested from the glass had a

17 |} reddish/brown appearance. At the time of testing, we did not

18 j| test for blood on the sample. So the swabs were reddish/brown,
19 # but they were not tested for blood.

20 Q Is 1c possible that, let's say, when given test items

21 |} such as a piece of glass, is it possible for there to be two DNAs

22 |} at one given Lime on a piece of glass?

23 A Base i on the results, DNA was only found from one

24 individual.

25 Q Let me rephrase that so you can understand.

SARAH MAXEY, SCR

 

 

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Cone Bed

 
pase 1:16-cv-00708-PGG Document 104 Filed 12/07/18 Page 88 of 89

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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DEFENDANT/SUSPECT .
, Name Arrest No. Pct, NYSID No. Sex Color Age Height Weignt

 

 

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‘EVIDENCE SUBMITTED

 

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TYPE EXAMINATION REQUESTED (Purpose of Request)

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HAS OTHER EVIDENCE IN THIS CASE BEEN PREVIOUSLY SUBMITTED? © Yes &&No
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IS THERE A PREVIOUS CASE WHERE EVIDENCE CAN BE COMPARED WITH THIS CASE?

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O Yes Poi, {i Yes. Complaint Na.

 

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